                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                                    No. CR00-4088-MWB
 vs.                                                    ORDER REGARDING
                                                      DEFENDANT’S MOTION TO
 RICARDO GARZA RAMIREZ,
                                                   VACATE, SET ASIDE OR CORRECT
                Defendant.                                   SENTENCE
                                    ____________________


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                I. INTRODUCTION AND FACTUAL BACKGROUND
       The court has before it defendant Ricardo Garza Ramirez’s Motion Under 28
U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody.
Defendant Ramirez was charged in a superceding indictment with conspiracy to distribute
and possess with intent to distribute methamphetamine, cocaine and marijuana, in violation
of 21 U.S.C. § 846. Defendant Ramirez pleaded guilty to the conspiracy charge in the
superceding indictment. He was subsequently sentenced to 327 months imprisonment on
that charge. Defendant Ramirez appealed his conviction and sentence but his appeal was
dismissed on a motion by the government pursuant to Eighth Circuit Rule 47A(b).
       Defendant Ramirez then filed his current § 2255 motion in which he challenges the
validity of his conviction and sentence on the following grounds: (1) that his counsel was
ineffective in failing to conduct an adequate pretrial investigation of the government’s
witnesses against him; and, (2) that his counsel was ineffective in permitting him to plead
guilty to the charged offenses without a written plea agreement. Defendant Ramirez
subsequently filed a supplement to his § 2255 motion in which defendant Ramirez requests
to be resentenced in light of the United States Supreme Court’s decisions in Blakely v.
Washington, 124 S. Ct. 2531 (2004) and United States v. Booker, 125 S. Ct. 738 (2005).


                                II. LEGAL ANALYSIS
                      A. Standards Applicable To § 2255 Motions
       The Eighth Circuit Court of Appeals has described 28 U.S.C. § 2255 as “the
statutory analogue of habeas corpus for persons in federal custody.” Poor Thunder v.
United States, 810 F.2d 817, 821 (8th Cir. 1987). In Poor Thunder, the court explained
the purpose of the statute:
              [Section 2255] provides a remedy in the sentencing court (as

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               opposed to habeas corpus, which lies in the district of
               confinement) for claims that a sentence was ‘imposed in
               violation of the Constitution or laws of the United States, or
               that the court was without jurisdiction to impose such sentence,
               or that the sentence was in excess of the maximum authorized
               by law, or is otherwise subject to collateral attack.’
Id. at 821 (quoting 28 U.S.C. § 2255). Of course, a motion pursuant to § 2255 may not
serve as a substitute for a direct appeal, rather “[r]elief under [this statute] is reserved for
transgressions of constitutional rights and for a narrow range of injuries that could not have
been raised for the first time on direct appeal and, if uncorrected, would result in a
complete miscarriage of justice.” United States v. Apfel, 97 F.3d 1074, 1076 (8th Cir.
1996).
         The failure to raise an issue on direct appeal ordinarily constitutes a procedural
default and precludes a defendant’s ability to raise that issue for the first time in a § 2255
motion. Matthews v. United States, 114 F.3d 112, 113 (8th Cir. 1997), cert. denied, 118
S. Ct. 730 (1998); Bousley v. Brooks, 97 F.3d 284, 287 (8th Cir. 1996), cert. granted,
118 S. Ct. 31 (1997); Reid v. United States, 976 F.2d 446, 447 (8th Cir. 1992), cert.
denied, 507 U.S. 945 (1993) (citing United States v. Frady, 456 U.S. 152 (1982)). This
rule applies whether the conviction was obtained through trial or through the entry of a
guilty plea. United States v. Cain, 134 F.3d 1345, 1352 (8th Cir. 1998); Walker v. United
States, 115 F.3d 603, 605 (8th Cir. 1997); Matthews, 114 F.3d at 113; Thomas v. United
States, 112 F.3d 365, 366 (8th Cir. 1997) (per curiam). A defendant may surmount this
procedural default only if the defendant “‘can show both (1) cause that excuses the default,
and (2) actual prejudice from the errors asserted.’” Matthews, 114 F.3d at 113 (quoting
Bousley, 97 F.3d at 287); see also United States v. Apfel, 97 F.3d 1074, 1076 (8th Cir.
1996).


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                                  B. Analysis Of Issues
       None of the claims defendant Ramirez has presented in his § 2255 motion were
raised on direct appeal. Defendant Ramirez alleges that the reason for his failure to appeal
these issues was ineffective assistance of counsel. The ineffective assistance of counsel
may constitute "cause and prejudice" excusing the procedural default of his failure to assert
the claim on direct appeal. See Tokar v. Bowersox, 198 F.3d 1039, 1051 (8th Cir. 1998),
cert. denied sub nom. Tokar v. Luebbers, 531 U.S. 886 (2000); Boysiewick v. Schriro, 179
F.3d 616, 619 (8th Cir. 1999). Moreover, claims of ineffective assistance of counsel
normally are raised for the first time in collateral proceedings under 28 U.S.C. § 2255.
See United States v. Martinez-Cruz, 186 F.3d 1102, 1105 (8th Cir. 1999) (reiterating that
ineffective assistance of counsel claims are best presented in a motion for post-conviction
relief under 28 U.S.C. § 2255); United States v. Mitchell, 136 F.3d 1192, 1193 (8th Cir.
1998) (noting ineffective assistance of counsel claims more properly raised in 28 U.S.C.
§ 2255 motion) (citing United States v. Martin, 59 F.3d 767, 771 (8th Cir. 1995) (stating
ineffective assistance of counsel claims "more appropriately raised in collateral
proceedings under 28 U.S.C. § 2255")); United States v. Scott, 26 F.3d 1458, 1467 (8th
Cir. 1994) (declining to consider ineffective assistance of counsel claims raised for first
time on direct appeal where claim not raised in a motion for postconviction relief pursuant
to 28 U.S.C. § 2255). Thus, the underlying merits of Ramirez’s claims lie in whether he
can demonstrate ineffective assistance of his counsel. Therefore, the court will address
Ramirez’s specific claims after briefly reviewing the standards for a claim of ineffective
assistance of counsel.




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       1.     Standards for ineffective assistance of counsel
       In order to prove a claim of ineffective assistance of counsel, a convicted defendant
must demonstrate that (1) “counsel's representation fell below an objective standard of
reasonableness;” and (2) “the deficient performance prejudiced the defense.” Strickland
v. Washington, 466 U.S. 668, 687 (1984); Furnish v. United States, 252 F.3d 950, 951
(8th Cir. 2001) (stating that the two-prong test set forth in Strickland requires a showing
that (1) counsel was constitutionally deficient in his or her performance and (2) the
deficiency materially and adversely prejudiced the outcome of the case); Garrett v.
Dormire, 237 F.3d 946, 950 (8th Cir. 2001) (same). Trial counsel has a “duty to make
reasonable investigations or to make a reasonable decision that makes particular
investigations unnecessary.” Strickland, 466 U.S. at 691. Indeed, “counsel must exercise
reasonable diligence to produce exculpatory evidence[,] and strategy resulting from lack
of diligence in preparation and investigation is not protected by the presumption in favor
of counsel.” Kenley v. Armontrout, 937 F.2d 1298, 1304 (8th Cir. 1991). However, there
is a strong presumption that counsel's challenged actions or omissions were, under the
circumstances, sound trial strategy. Strickland, 466 U.S. at 689; see Collins v. Dormire,
240 F.3d 724, 727 (8th Cir. 2001) (in determining whether counsel's performance was
deficient, the court should “indulge a strong presumption that counsel's conduct falls
within the wide range of reasonable professional assistance . . .”) (citing Strickland). With
respect to the “strong presumption” afforded to counsel's performance, the Supreme Court
specifically stated:
              Judicial scrutiny of counsel's performance must be highly
              deferential. It is all too tempting for a defendant to
              second-guess counsel's assistance after conviction or adverse
              sentence, and it is all too easy for a court, examining counsel's
              defense after it has proved unsuccessful, to conclude that a


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              particular act or omission of counsel was unreasonable. A fair
              assessment of attorney performance requires that every effort
              be made to eliminate the distorting effects of hindsight, to
              reconstruct the circumstances of counsel’s challenged conduct,
              and to evaluate the conduct from counsel's perspective at the
              time. Because of the difficulties inherent in making the
              evaluation, a court must indulge a strong presumption that
              counsel’s conduct falls within the wide range of reasonable
              professional assistance; that is, the defendant must overcome
              the presumption that, under the circumstances, the challenged
              action “might be considered sound trial strategy.”
Strickland, 466 U.S. at 689 (citations omitted).
       To demonstrate that counsel's error was prejudicial, thereby satisfying the second
prong of the Strickland test, a habeas petitioner must prove that “there is a reasonable
probability that, but for counsel's unprofessional errors, the result of the proceeding would
have been different.” Strickland, 466 U.S. at 694. “A reasonable probability is a
probability sufficient to undermine confidence in the outcome.” Id. The court need not
address whether counsel’s performance was deficient if the defendant is unable to prove
prejudice. Apfel, 97 F.3d at 1076 (citing Montanye v. United States, 77 F.3d 226, 230
(8th Cir.), cert. denied, 117 S. Ct. 318 (1996)); see also Pryor v. Norris, 103 F.3d 710,
712 (8th Cir. 1997) (observing “[w]e need not reach the performance prong if we
determine that the defendant suffered no prejudice from the alleged ineffectiveness.”). The
Supreme Court has stated that “[i]f it is easier to dispose of an ineffectiveness claim on the
ground of lack of sufficient prejudice . . . that course should be followed.” Strickland,
466 U.S. at 697.
       2.     Specific claims of ineffective assistance of counsel
       a.     Pretrial Investigation
       Defendant Ramirez alleges that his counsel was ineffective in failing to conduct a


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thorough pretrial investigation into the government’s case. As a result, defendant Ramirez
argues that his counsel failed to challenge the drug quantities attributed to him in the
Presentence Investigative Report (“PSIR”) by his codefendants and two defendants in
related cases, Todd Taylor and Allen Gonzalez.         The flaw in defendant Ramirez’s
argument on this issue is that he does not indicate how he was prejudiced by his counsel’s
alleged failure to conduct a more thorough investigation into his codefendants, and Todd
Taylor and Allen Gonzalez. Specifically, he does not assert what a more thorough
investigation of these individuals would have revealed or how the material gleaned from
a more thorough investigation would have been useful in challenging the drug quantities
attributed to him in the PSIR. Since defendant Ramirez fails to satisfy the prejudice
requirement of Strickland, this claim of ineffective assistance of counsel fails. Therefore,
this part of defendant Ramirez’s motion is denied.
       b.     Written plea agreement
       Defendant Ramirez also alleges that his counsel was ineffective in failing to provide
him with a written plea agreement. Defendant Ramirez asserts that because he did not
have a written plea agreement, he did not know the possible punishment to which he might
be subjected. The record, however, does not support this argument. At his plea hearing,
before United States Magistrate Judge Zoss, the following colloquy between Judge Zoss
and defendant Ramirez, regarding defendant Ramirez’s possible sentence, occurred:
              THE COURT:           The court finds there is an adequate basis
                                   on this record at this time. Mr. Orozco,
                                   I have to let you know what the maximum
                                   statutory penalties are in this case. This
                                   would be the worst that could happen to
                                   you if you are convicted on Count 1.
                                   You could be sentenced to any or all of
                                   the following. You could be fined


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                                   $4,000,000,000, you could be sentenced
                                   to a term of life imprisonment without the
                                   possibility of parole, and you could be
                                   ordered to have a period of supervised
                                   release of life. You could get any or all
                                   of those. In addition, there would be a
                                   ten-year mandatory minimum. That
                                   means you couldn’t be sentenced to less
                                   than ten years in prison and a minimum
                                   period of supervised release of five years
                                   in prison. Do you understand these
                                   statutory penalties?

             THE DEFENDANT:               Yes.
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Plea Hearing Tr. at 22-23.       Judge Zoss also explained to defendant Ramirez that his
actual sentence would be determined by the court at the time of sentencing:
             THE COURT:            The important thing for you to understand
                                   is that sentencing is up to Judge Bennett.
                                   He will decide what your sentence will
                                   be. And it really doesn’t matter what Mr.
                                   Deegan predicts or Ms. O’Brien predicts
                                   or what the presentence report predicts,
                                   in the end Judge Bennett will make the
                                   final decision. And it is important for
                                   you to understand this. Don’t plead
                                   guilty unless you are willing to accept the
                                   consequences of the sentence because you
                                   will not be able to withdraw your plea
                                   simply because you don’t like the way the
                                   presentence report comes out. You’ll not


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        During the plea hearing, defendant Ramirez indicated to Judge Zoss that he went
by the name Armando Orozco in Mexico. Judge Zoss subsequently addressed defendant
Ramirez by that name.

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                                be able to withdraw your plea if you
                                don’t like what happens at the sentencing
                                hearing.     You will not be able to
                                withdraw your plea if you get a sentence
                                higher than what you expect or lower
                                than what you expect.            Do you
                                understand that if you plead guilty it is a
                                final act and you won’t be able to change
                                your mind later?

             THE DEFENDANT:            Yes.

Plea Hearing Tr. at 29. Judge Zoss went on to explain the mandatory minimum sentence
that defendant Ramirez was facing:
             THE COURT:         Well, Mr. Orozco, the important thing
                                for you to understand is that your
                                sentence could be—currently could be all
                                the way from ten years to life
                                imprisonment, and anywhere in between
                                that. And it probably can’t go below ten
                                years unless you would either qualify for
                                the safety valve, which there are serious
                                issues about this, or unless the
                                government would file what is called a
                                cooperation motion asking that you be
                                sentenced to less than ten years. But you
                                should understand that you could receive
                                a sentence of all the way up to live in
                                prison. Do you understand that?

             THE DEFENDANT:            Yes.

             THE COURT:         And do you understand that the judge
                                cannot sentence you to less than ten years
                                unless either you qualify for the safety
                                valve or the government files a

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                                   cooperation motion under 3553E? Do
                                   you understand that?

              THE DEFENDANT:              Yes.

Plea Hearing Tr. at 30-31.
       Given Judge Zoss’s complete and thorough review of defendant Ramirez’s possible
sentence, the court concludes that defendant Ramirez has not demonstrated that he was
prejudiced by the fact that his counsel permitted him to plead guilty without a written plea
agreement in this case.      Because defendant Ramirez has not satisfied the prejudice
requirement of Strickland, this claim of ineffective assistance of counsel also fails.
Therefore, this part of defendant Ramirez’s motion is denied.
       3.     Booker claim
       In his supplement to his motion to vacate, set aside, or correct sentence, defendant
Ramirez challenges the validity of his sentence under the United States Supreme Court’s
decisions in Blakely v. Washington, 124 S. Ct. 2531 (2004) and United States v. Booker,
125 S. Ct. 738 (2005). Defendant Ramirez contends that he should be resentenced under
requirements of the United States Supreme Court’s decisions in Blakely and Booker.
       On January 12, 2005, the United States Supreme Court handed down its decision
in Booker, 125 S. Ct. 738 (2005). In Booker, the Court issued two separate majority
opinions. Id. First, Justice Stevens, writing for the Court, held that the rule announced
in Blakely v. Washington, 124 S. Ct. 2531 applied to the federal sentencing guidelines.
Booker, 125 S. Ct. at 745. Justice Stevens’s opinion was grounded on the premise that the
federal sentencing guidelines were mandatory and imposed binding requirements on all
sentencing judges. Id. at 749. The second majority decision, with Justice Breyer writing
for the Court, invalidated two provisions of the Sentencing Reform Act of 1984 that had


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the effect of making the Guidelines mandatory. Id. at 756. However, by its very terms,
Booker states that it is to apply “to all cases on direct review.” Id. at 769. The decision
make no reference to cases on collateral review. Every federal court of appeals, including
the Eighth Circuit Court of Appeals, to have considered the issue has held that Booker does
not apply retroactively to cases on collateral review. See Never Misses A Shot v. United
States, 413 F.3d at 781, 783 (8th Cir. 2005); see also Lloyd v. United States, 407 F.3d
608, 615-16 (3rd Cir. 2005); Guzman v. United States, 404 F.3d 139, 143-44 (2d Cir.
2005); Varela v. United States, 400 F.3d 864, 868 (11th Cir.2005); United States v. Price,
400 F.3d 844, 845 (10th Cir. 2005); Humphress v. United States, 398 F.3d 855, 857 (6th
Cir. 2005); McReynolds v. United States, 397 F.3d 479, 481 (7th Cir. 2005). Because this
case was not pending on direct review when Booker was decided, the holdings of Booker
would be inapplicable as a basis to attack the sentence here. See Never Misses A Shot, 413
F.3d at 783; see also Lloyd, 407 F.3d at 615-16; Guzman, 404 F.3d at 143-44; Varela,
400 F.3d at 868; Price, 400 F.3d at 845; Humphress, 398 F.3d at 857; McReynolds, 397
F.3d at 481. Therefore, this part of defendant Ramirez’s motion is also denied.


                             C. Certificate Of Appealability
       Defendant Ramirez must make a substantial showing of the denial of a constitutional
right in order to be granted a certificate of appealability in this case. See Miller-El v.
Cockrell, 123 S. Ct. 1029, 1039 (2003); Garrett v. United States, 211 F.3d 1075, 1076-77
(8th Cir. 2000); Mills v. Norris, 187 F.3d 881, 882 n.1 (8th Cir. 1999); Carter v.
Hopkins, 151 F.3d 872, 873-74 (8th Cir. 1998); Ramsey v. Bowersox, 149 F.3d 749 (8th
Cir. 1998); Cox v. Norris, 133 F.3d 565, 569 (8th Cir. 1997), cert. denied, 525 U .S. 834
(1998). "A substantial showing is a showing that issues are debatable among reasonable
jurists, a court could resolve the issues differently, or the issues deserve further

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proceedings." Cox, 133 F.3d at 569. Moreover, the United States Supreme Court
reiterated in Miller-El that “‘[w]here a district court has rejected the constitutional claims
on the merits, the showing required to satisfy § 2253(c) is straightforward: The petitioner
must demonstrate that reasonable jurists would find the district court's assessment of the
constitutional claims debatable or wrong.’” Miller-El, 123 S. Ct. at 1040 (quoting Slack
v. McDaniel, 529 U.S. 473, 484 (2000)). The court determines that Ramirez's petition
does not present questions of substance for appellate review, and therefore, does not make
the requisite showing to satisfy § 2253(c). See 28 U.S.C. § 2253(c)(2); FED. R. APP. P.
22(b).    With respect to Ramirez’s claims, the court shall not grant a certificate of
appealability pursuant to 28 U.S.C. § 2253(c).


                                   III. CONCLUSION
         Defendant Ramirez’s § 2255 motion is denied, and this matter is dismissed in its
entirety. Moreover, the court determines that the petition does not present questions of
substance for appellate review. See 28 U.S.C. § 2253(c)(2); FED. R. APP. P. 22(b).
Accordingly, a certificate of appealability will not issue.
         IT IS SO ORDERED.
         DATED this 31st day of March, 2006.


                                                  __________________________________
                                                  MARK W. BENNETT
                                                  CHIEF JUDGE, U. S. DISTRICT COURT
                                                  NORTHERN DISTRICT OF IOWA




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